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IN THE UNITED STATES OF AMERICA
EASTERN DISTRICT OF TEXAS
SHERMAN DIVISION. -

UNITED STATES OF AMERICA
Judge Crone

GUSTAVO ALONSO GARZA-

§
§
Vv. § No. 4:12CR206
§
§
LOPEZ (4) §

PLEA AGREEMENT

The defendant, Gustavo Alonso Garza-Lopez, the defendant’s attorney Bryan
Mac Morris, and the United States Attorney for the Eastern District of Texas agree to the
following:
1, RIGHTS OF THE DEFENDANT: The defendant understands that accused
individuals have the following rights, among others:
a. to plead not guilty;
b. to have a trial by jury;
c. to have guilt proved beyond a reasonable doubt;

d. to confront and cross-examine witnesses and to call witnesses in
defense; and

e. to not be compelled to testify against oneself.
2. WAIVER OF RIGHTS AND PLEA OF GUILTY: The defendant waives these
rights and agrees to enter a plea of guilty to Count One of the Information, which charges
a violation of 21 U.S.C. § 846, Conspiracy to Possess with Intent to Distribute Marijuana.

The defendant understands the nature and elements of the crime to which guilt is

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admitted and agrees that the factual statement the defendant has signed is true and will be

submitted as evidence.

3. SENTENCE: The maximum penalties the Court can impose include:

a.

If 1000 kilograms or more of a mixture or substance containing a
detectable amount of marijuana — not less than ten and not more than
life imprisonment, a fine not to exceed $4 million, or both; supervised
release of at least five years;

a mandatory special assessment of $100.00, which must be paid by
cashier’s check or money order to the United States District Clerk
before sentencing;

forfeiture of property involved or traceable to the criminal offense;
restitution to victims or to the community; and

costs of incarceration and supervision.

4. COURT’S SENTENCING DISCRETION AND ROLE OF THE GUIDELINES: The

defendant understands that the sentence in this case will be imposed by the Court after

consideration of the U.S. Sentencing Guidelines Manual (U.S.S.G. or guidelines). The

guidelines are not binding on the Court, but are advisory only. The defendant has

reviewed the guidelines with defense counsel, but understands that no one can predict

with certainty the outcome of the Court’s consideration of the guidelines in this case.

The defendant will not be allowed to withdraw the plea entered pursuant to this

agreement if the sentence is higher than expected, so long as it is within the statutory

maximum. The defendant understands that the actual sentence to be imposed is solely in

the discretion of the Court.

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5. GUIDELINE STIPULATIONS: The parties stipulate to the following factors that

affect the appropriate sentencing range in this case:

a. The base offense level pursuant to U.S. Sentencing Guidelines
Manual § 2D 1.1 is 36 based on the possession with intent to
distribute at least 10,000 kilograms but less than 30,000 kilograms of
a mixture or substance containing a detectable amount of marijuana.

b. A reduction of three levels for acceptance of responsibility under
U.S.S.G. § 3E1.1 applies; however, this stipulation is subject to
recommendation of the United States Probation Office. If
circumstances indicating that the defendant has not accepted
responsibility become known after execution of this Agreement,
this stipulation is void and the defendant may object to the failure
of the Presentence Report to recommend the reduction. The
government’s request to decrease the offense level by one level in
accordance with U.S.S.G. § 3E1.1(b) is contingent on the
defendant demonstrating acceptance of responsibility for the
offense conduct and cooperating fully in recovering restitution
for all relevant conduct.

c. The defendant does not qualify for a reduction under U.S.S.G. §
3B1.2 (Mitigating Role).

The parties understand that the Court is not bound by these stipulations.
Furthermore, the parties specifically agree that other specific offense characteristics or
guideline adjustments may increase or decrease the appropriate sentencing range.
Nothing in this agreement will preclude argument by either party regarding any other
specific offense characteristic or guideline adjustment. Based on the defendant’s criminal
history, the defendant’s base offense level may increase under the career offender
guidelines, U.S.S.G. § 4B1.1, or the guidelines implementing the Armed Career Criminal

Act, U.S.S.G, § 4B1.4. It will not be a violation of this agreement for either party to

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argue for or against the changed offense level resulting from the defendant’s criminal
history.

6. RESTITUTION: The defendant understands that restitution may be ordered by
the Court. The defendant agrees that restitution in this case is not limited to the offense
of conviction and may include restitution for all losses caused by the defendant’s criminal
conduct, even if such losses resulted from crimes not charged or admitted by the
defendant in the factual statement. The defendant waives any defense or objection to any
action to enforce the collection of the financial obligations to be imposed in connection
with this prosecution, including, but not limited to, all collection procedures authorized
by 28 U.S.C. § 3001, 18 U.S.C. § 3664(j)(2), or 18 U.S.C. § 3613(f).

7. DEFENDANT’S COOPERATION: The defendant shall give truthful and
complete information and/or testimony concerning the defendant’s participation in the
offense of conviction and knowledge of other criminal activities. The defendant shall not
take any actions that would obstruct the government’s investigation into the offense of
conviction or the other criminal activities of which the defendant has knowledge. The
defendant understands that intentionally providing false information or testimony to
implicate an innocent person in the commission of a crime, or to protect a guilty person,
and/or exaggerating the involvement of any person in a crime in order to appear
cooperative, will be a material violation of this agreement. Upon request, the defendant
shall submit a personal financial statement under oath and submit to interviews by the
government and the United States Probation Office regarding the defendant’s capacity to

satisfy any fines or restitution. The defendant also agrees to comply with all relevant

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orders and rules of the Court. The government will advise the Court of the extent of the
defendant’s cooperation. Failure to comply with this section can result in prosecution for
the charges identified in paragraph 2 above and for any other federal offenses that the
defendant may have committed. Additionally, upon such failure, the government may
use any of the defendant’s statements or leads derived therefrom against the defendant in
any proceeding.

8. SUBSTANTIAL ASSISTANCE: If, in its sole discretion, the government
determines that the defendant has provided substantial assistance in the investigation or
prosecution of others, the government will file a motion for downward departure pursuant
to U.S.S.G. § SK1.1 or a motion for reduction of sentence pursuant to Fed. R. Crim. P.
35(b). The defendant’s cooperation does not automatically require the government to
request a downward departure or a reduction in sentence, and the time for filing such
motion will be determined by the government. It is entirely within the Court’s discretion
as to what, if any, reduction in sentence the defendant will receive.

9. GOVERNMENT’S AGREEMENT: The United States Attorney for the Eastern
District of Texas agrees not to prosecute the defendant for any additional non-tax related
criminal charges based upon the conduct underlying and related to the defendant’s plea of
guilty. After sentencing, the government will dismiss any remaining criminal charges
against this defendant.

10. VIOLATION OF AGREEMENT: The defendant understands that upon violation
of any provision of this agreement or any Court order or rule, or if the guilty plea
pursuant to this agreement is vacated or withdrawn, the government will be free from its

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obligations under this agreement and may prosecute the defendant for all offenses of
which it has knowledge. In such event, the defendant waives any objections based upon
delay in prosecution.

1]. VOLUNTARY PLEA: This plea of guilty is freely and voluntarily made and is
not the result of force, threats, or promises other than those set forth in this agreement.

12, WAIVER OF RIGHT TO APPEAL OR OTHERWISE CHALLENGE SENTENCE:
Except as otherwise provided herein, the defendant expressly waives the right to appeal
the conviction, sentence, fine and/or order of restitution or forfeiture in this case on all
grounds. The defendant further agrees not to contest the conviction, sentence, fine and/or
order of restitution or forfeiture in any post-conviction proceeding, including, but not
limited to a proceeding under 28 U.S.C. § 2255. The defendant, however, reserves the
right to appeal the following: (a) any punishment imposed in excess of the statutory
maximum, and (b) a claim of ineffective assistance of counsel that affects the validity of
the waiver or the plea itself.

13. WAIVER OF RIGHT TO RECORDS: The defendant hereby waives all rights,
whether asserted directly or by a representative, to request or receive from any
department or agency of the United States any records pertaining to the investigation or
prosecution of this case, including without limitation any records that may be sought
under the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act, 5 U.S.C. §
552a.

14. REPRESENTATION OF COUNSEL: The defendant has thoroughly reviewed all
legal and factual aspects of this case with defense counsel and is fully satisfied with

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defense counsel’s legal representation. The defendant has received satisfactory
explanations from defense counsel concerning each paragraph of this plea agreement,
each of the defendant’s rights affected thereby, and the alternatives to entering a guilty
plea. After conferring with counsel, the defendant concedes guilt and has concluded that
it is in the defendant’s best interest to enter this agreement rather than proceeding to trial.

15. LIMITATIONS ON THIS AGREEMENT: This agreement is only binding on the
United States Attorney’s Office for the Eastern District of Texas and does not bind any
other federal, state, or local prosecuting authority. Nothing in this agreement shall be
construed to release the defendant from possible related or consequential civil liability to
any individual, legal entity, or the United States.

16. ENTIRETY OF AGREEMENT: The defendant, the defendant’s attorney, and the
government acknowledge that this is a complete statement of the parties’ agreement in
this case. It supersedes all other plea agreements and may not be modified unless the

modification is in writing and signed by all parties. No other promises have been made

or implied.

Respectfully submitted,

Dated: 5/1 [4

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I have read or had read to me this plea agreement and have carefully reviewed
every part of it with my attorney. I fully understand it and voluntarily agree to it.

Dated: 5° f! f Me hee ure

GUSTAVO ALONSO GARZA-LOPEZ
Defendant

I am counsel for the defendant. I have carefully reviewed every part of this plea
agreement with the defendant. To my knowledge and belief, my client’s decision to
enter into this plea agreement is an informed and voluntary one.

Dated: O° 4'¢ ¢ Ye, fr—

BRYAN MAC MORRIS
Attorney for Defendant

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